                      Case 20-32021 Document 1 Filed in TXSB on 04/01/20 Page 1 of 21


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   02/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Whiting Petroleum Corporation


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          1700 Lincoln Street
                                          Number            Street                                    Number         Street

                                          Suite 4700
                                                                                                      P.O. Box

                                          Denver                           CO      80203
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Denver County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.whiting.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Whiting Petroleum Corporation                                      Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2111

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

                                            ☒ Chapter 11. Check all that apply:

                                                              ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                              ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              ☐ The debtor is a small business as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                              ☐ A plan is being filed with this petition.

                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.      District                           When                      Case number
   within the last 8 years?                                                                    MM/DD/YYYY
     If more than 2 cases, attach a                District                           When                      Case number
     separate list.                                                                            MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                  Relationship     Affiliate
                                                   Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                       District    Southern District of Texas
     List all cases. If more than 1,                                                                            When             04/01/2020

     Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                        Case 20-32021 Document 1 Filed in TXSB on 04/01/20 Page 3 of 21
    Debtor           Whiting Petroleum Corporation                                        Case number (if known)
              Name


       attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.     Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☒    25,001-50,000
        creditors1                        ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                          ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999



    15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☒   $1,000,000,001-$10 billion
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion



1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Whiting Petroleum Corporation                                         Case number (if known)
          Name




16. Estimated liabilities            ☐       $0-$50,000                  ☐    $1,000,001-$10 million                ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000            ☐    $10,000,001-$50 million               ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐    $50,000,001-$100 million              ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☐    $100,000,001-$500 million             ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         04/01/2020
                                                              MM/ DD / YYYY


                                              /s/ Correne S. Loeffler                                           Correne S. Loeffler
                                              Signature of authorized representative of debtor               Printed name

                                              Title    Chief Financial Officer




18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                      Date        04/01/2020
                                              Signature of attorney for debtor                                          MM/DD/YYYY



                                              Matthew D. Cavenaugh
                                              Printed name
                                              Jackson Walker L.L.P.
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                               Texas              77010
                                              City                                                                  State                ZIP Code
                                              (713) 752-4200                                                        mcavenaugh@jw.com
                                              Contact phone                                                            Email address
                                              24062656                                                Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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    Fill in this information to identify the case:
                                                                    ,
    United States Bankruptcy Court for the:
                         Southern District of Texas
                                        (State)                                              ☐ Check if this is an
    Case number (if                                                                              amended filing
    known):                                          Chapter   11



                                                 Rider 1
                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

           On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
   the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
   of the United States Code. The Debtors have moved for joint administration of these cases under the case
   number assigned to the chapter 11 case of Whiting Petroleum Corporation.



Whiting Canadian Holding Company ULC
Whiting Oil and Gas Corporation
Whiting Petroleum Corporation
Whiting Resources Corporation
Whiting US Holding Company
                                   Case 20-32021 Document 1 Filed in TXSB on 04/01/20 Page 6 of 21



     Fill in this information to identify the case:
     Debtor name Whiting Petroleum Corporation et al.
     United States Bankruptcy Court for the: Southern District of Texas
     Case number (If known): ___________                                                                                                    Check if this is an
                                                                                                                                             amended filing

     Official Form 204

     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
     Unsecured Claims and Are Not Insiders                                            12/15

     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
     the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
     not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
     creditor among the holders of the 30 largest unsecured claims.
     Name of creditor and complete mailing address, Name, telephone number, and email              Nature of the claim       Indicate if claim   Amount of unsecured claim
     including zip code                             address of creditor contact                    (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                   debts, bank loans,       unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                                   professional services,   disputed             claim amount and deduction for value of collateral or
                                                                                                   and government                                setoff to calculate unsecured claim.
                                                                                                   contracts)
                                                                                                                                                 Total claim, if    Deduction for      Unsecured claim
                                                                                                                                                 partially          value of
                                                                                                                                                 secured            collateral or
                                                                                                                                                                    setoff
     The Bank of New York Mellon Trust Company,          Attn: Sharon K. McGrath
     N.A.                                                Title: Vice President                      6.625% Senior Notes
 1                                                                                                                                                                                      $ 1,000,000,000
     2 North LaSalle - 7th Floor                         Phone: (312) 827-3262                           due 2026
     Chicago, IL 60602                                   Email: sharon.mcgrath@bnymellon.com

     The Bank of New York Mellon Trust Company,          Attn: Sharon K. McGrath
     N.A.                                                Title: Vice President                       5.75% Senior Notes
 2                                                                                                                                                                                      $    774,000,000
     2 North LaSalle - 7th Floor                         Phone: (312) 827-3262                         due March 2021
     Chicago, IL 60602                                   Email: sharon.mcgrath@bnymellon.com

     The Bank of New York Mellon Trust Company,          Attn: Sharon K. McGrath
     N.A.                                                Title: Vice President                       6.25% Senior Notes
 3                                                                                                                                                                                      $    408,000,000
     2 North LaSalle - 7th Floor                         Phone: (312) 827-3262                          due April 2023
     Chicago, IL 60602                                   Email: sharon.mcgrath@bnymellon.com

   The Bank of New York Mellon Trust Company,            Attn: Sharon K. McGrath
                                                                                                     1.25% Convertible
   N.A.                                                  Title: Vice President
 4                                                                                                 Senior Notes due April                                                               $    262,000,000
   2 North LaSalle - 7th Floor                           Phone: (312) 827-3262
                                                                                                           2020
   Chicago, IL 60602                                     Email: sharon.mcgrath@bnymellon.com

                                                         Attn: Olivier Le Peuch
   Schlumberger Technology Corporation
                                                         Title: CEO
   5599 San Felipe
 5                                                       Phone: (281) 635-5194                         Trade Payables                                                                   $       8,839,604
   17th Floor
                                                         Email: lepeuch1@slb.com
   Houston, TX 77056
                                                         Fax: (281) 285-0233
                                                         Attn: Jeff Miller
     Halliburton Energy Services Inc                     Title: Chairman, President & CEO
 6 3000 N. Sam Houston Pkwy E.                           Phone: (281) 871-4000                         Trade Payables                                                                   $       8,366,793
     Houston, TX 77032                                   Email: jeff.miller@halliburton.com
                                                         Fax: (281) 876-4455
     Polar Midstream                                     Attn: J. Heath Deneke
     2300 Windy Ridge Parkway                            Title: President & CEO
 7                                                                                                     Trade Payables                                                                   $       3,662,779
     Suite 840N                                          Phone: (832) 413-4770
     Atlanta, GA 30339                                   Email:
                                                         Attn: Lorenzo Simonelli
     Baker Hughes                                        Title: Chairman & CEO
 8 17021 Aldine Westfield Road                           Phone: (713) 439-8600                         Trade Payables                                                                   $       2,566,083
     Houston, TX 77073                                   Email:
                                                         Fax: (337) 837-3493
                                                         Attn: Mark Ritchie
     BNN Redtail, LLC
                                                         Title: Co-Founder & Vice President
 9 370 Van Gordon St                                                                                   Trade Payables                                                                   $       2,338,161
                                                         Phone: (303) 357-4733
     Lakewood, CO 80228
                                                         Email: mark.ritchie@bnn-energy.com




Official Form 204                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                            Page 1
                                     Case 20-32021 Document 1 Filed in TXSB on 04/01/20 Page 7 of 21
Debtor    Whiting Petroleum Corporation et al.                                                                                                               Case number (if known)___________________




     Name of creditor and complete mailing address, Name, telephone number, and email        Nature of the claim       Indicate if claim   Amount of unsecured claim
     including zip code                             address of creditor contact              (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                             debts, bank loans,       unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                             professional services,   disputed             claim amount and deduction for value of collateral or
                                                                                             and government                                setoff to calculate unsecured claim.
                                                                                             contracts)
                                                                                                                                           Total claim, if    Deduction for      Unsecured claim
                                                                                                                                           partially          value of
                                                                                                                                           secured            collateral or
                                                                                                                                                              setoff
                                                   Attn: Matthew J. Meloy
   Targa Resources Partners LP
                                                   Title: CEO
   811 Louisiana St
10                                                 Phone: (713) 584-1000                         Trade Payables                                                                   $       2,336,550
   Suite 2100
                                                   Email:
   Houston, TX 77002
                                                   Fax: (713) 584-1100
                                                   Attn: Kevin Jeffreys
     Sun Well Service Inc                          Title: Vice President
11 118 84th St. W                                  Phone: (701) 774-3001                         Trade Payables                                                                   $       2,090,568
     Williston, ND 58801                           Email:
                                                   Fax: (701) 774-0774
                                                   Attn: Jake Estvold
     Estvold Oilfield Services Inc                 Title: Owner
12 3962 84th Ave NW                                Phone: (701) 627-4346                         Trade Payables                                                                   $       1,713,026
     New Town, ND 58763                            Email:
                                                   Fax: (701) 627-2778
                                                   Attn: David Hoerner
     Triangle Electric Inc
                                                   Title: CFO
13 2644 1st Ave E                                                                                Trade Payables                                                                   $       1,691,100
                                                   Phone: (701) 157-6783
     Williston, ND 58801
                                                   Email:
                                                   Attn: Mike Davis
     Black Hawk Energy Services Ltd                Title: President & CEO
14 118 84th St.                                    Phone: (701) 774-0774                         Trade Payables                                                                   $       1,654,054
     Williston, ND 58801                           Email:
                                                   Fax: (701) 774-3001
   Pioneer Drilling Services Ltd                   Attn: Stacy Locke
   1250 Northeast Loop 410                         Title: President & CEO
15                                                                                               Trade Payables                                                                   $       1,580,868
   Suite 1000                                      Phone: (210) 082-7689
   San Antonio, TX 78209                           Email: slocke@pioneers.com
   Purity Oilfield Services LLC                    Attn: Marshall T. Hunt
   2101 Cedar Springs Road                         Title: President
16                                                                                               Trade Payables                                                                   $       1,507,326
   Suite 650                                       Phone: (214) 472-1700
   Dallas, TX 75201                                Email:
   CS Welding, LLC                                 Attn: Cesar Salgado
   1101 4th St SE                                  Title: President
17                                                                                               Trade Payables                                                                   $       1,488,474
   Suite 206                                       Phone: (701) 162-2706
   Stanley, ND 58784                               Email:
                                                   Attn: Jose Bayardo
     National Oilwell Varco LP                     Title: Vice President & CFO
18 7909 Parkwood Circle Drive                      Phone: (336) 660-3830                         Trade Payables                                                                   $       1,452,065
     Houston, TX 77036                             Email: jose.bayardo@nov.com
                                                   Fax: (713) 435-2195
                                                   Attn: Sheldon Van Vost
     Northern Oilfield Services, LLC
                                                   Title: CEO
19 1637 44th St W                                                                                Trade Payables                                                                   $       1,413,341
                                                   Phone: (833) 356-5924
     Williston, ND 58801
                                                   Email:
                                                   Attn: Thomas McKenzie
     McKenzie Energy Partners LLC
                                                   Title: CEO
20 PO Box 1037                                                                                   Trade Payables                                                                   $       1,374,319
                                                   Phone: (888) 858-7747
     Watford City, ND 58854
                                                   Email:
                                                   Attn: Seth Merrill
     CTAP, LLC                                     Title: President
21 2585 Trailridge Dr East                         Phone: (844) 488-2827                         Trade Payables                                                                   $       1,127,198
     Lafayette, CO 80026                           Email:
                                                   Fax: (303) 661-0809
     Rusco Operating LLC                           Attn: Xuan Yong
     98 San Jacinto Blvd                           Title: Owner
22                                                                                               Trade Payables                                                                   $       1,100,399
     Suite 550                                     Phone: (713) 355-6695
     Austin, TX 78701                              Email:




Official Form 204                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                            Page 2
                                          Case 20-32021 Document 1 Filed in TXSB on 04/01/20 Page 8 of 21
Debtor     Whiting Petroleum Corporation et al.                                                                                                                                               Case number (if known)___________________




     Name of creditor and complete mailing address, Name, telephone number, and email                                     Nature of the claim           Indicate if claim   Amount of unsecured claim
     including zip code                             address of creditor contact                                           (for example, trade          is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                                          debts, bank loans,           unliquidated, or     claim amount. If claim is partially secured, fill in total
                                                                                                                          professional services,       disputed             claim amount and deduction for value of collateral or
                                                                                                                          and government                                    setoff to calculate unsecured claim.
                                                                                                                          contracts)
                                                                                                                                                                            Total claim, if    Deduction for      Unsecured claim
                                                                                                                                                                            partially          value of
                                                                                                                                                                            secured            collateral or
                                                                                                                                                                                               setoff
                                                                    Attn: Joseph E. Rivera
   Atlas Oil Company                                                Title: CFO
23 24501 Ecorse Rd                                                  Phone: (313) 292-5500                                      Trade Payables                                                                      $       1,078,209
   Taylor, MI 48180                                                 Email: jrivera@atlasoil.com
                                                                    Fax: (313) 292-4580
     Key Energy Services LLC                                        Attn: J. Marshall Dodson
     1301 McKinney St                                               Title: President & CEO
24                                                                                                                             Trade Payables                                                                      $         924,610
     Suite 1800                                                     Phone: (713) 365-4300
     Houston, TX 77010                                              Email: rsaltiel@keyenergy.com
                                                                    Attn: Chad O'Neil
     Chemoil Corporation
                                                                    Title: Vice President
     40 E. Sheridan Avenue
25                                                                  Phone: (405) 560-5436                                      Trade Payables                                                                      $         843,215
     Suite 400
                                                                    Email: chad.oneil@chemoil.com
     Oklahoma City, OK 73104
                                                                    Fax: (405) 605-5499
                                                                    Attn: Robert Drummond
     NexTier Completion Solutions, Inc.
                                                                    Title: President & CEO
26 3990 Rogerdale                                                                                                              Trade Payables                                                                      $         824,789
                                                                    Phone: (713) 332-6000
     Houston, TX 77042
                                                                    Email:
                                                                    Attn: Darla Miller
     Jmac Resources Inc
                                                                    Title: CFO
27 121 48th Ave SW                                                                                                             Trade Payables                                                                      $         789,776
                                                                    Phone: (701) 177-8511
     Williston, ND 58801
                                                                    Email: darlam@jmacresources.com
                                                                    Attn: Michael K. Wirth
     Chevron USA Inc
                                                                    Title: CEO
28 6001 Bollinger Canyon Road                                                                                                  Trade Payables                                                                      $         770,648
                                                                    Phone: (925) 584-1000
     San Ramon, CA 94583
                                                                    Email: mkwirth@chevron.com
   Perfx Wireline Services LLC                                      Attn: Charlie Thomas
   1525 Raleigh Ave                                                 Title: President
29                                                                                                                             Trade Payables                                                                      $         767,139
   #500                                                             Phone: (832) 242-0097
   Denver, CO 80204                                                 Email:
   Jamex Marketing, LLC                                             Attn: Joel Reese
                                                                                                                                                           Contingent
   C/o Reese Marketos LLP                                           Title: Partner
30                                                                                                                            Litigation Claim            Unliquidated                                                 Undetermined
   750 N. Saint Paul St., Suite 600                                 Phone: (214) 382-9801
                                                                                                                                                           Disputed
   Dallas, TX 75201                                                 Email: Joel.Reese@rm-firm.com

Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities are invoiced.




Official Form 204                                                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                            Page 3
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Official Form 201A (12/15)

                                      IN THE UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
                                               )
In re:                                         )   Chapter 11
                                               )
WHITING PETROLEUM CORPORATION,                 )   Case No. 20-___________(___)
                                               )
                    Debtor.                    )
                                               )
  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
        If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
    number is     001-31899

        The following financial data is the latest available information and refers to the debtor’s condition on
    December 31, 2019


         Total assets                                                      $    $7,636,721,000
         Total debts (including debts listed in 2.c., below)               $    $3,611,750,000
         Debt securities held by more than 500 holders
                                                                                                               Approximate
                                                                                                               number of
                                                                                                               holders:
         secured    ☐     unsecured    ☒     subordinated      ☐                                               760 Holders (5.75%
                                                                     $ 773,600,000                             Senior Notes due 2021)
         secured    ☐     unsecured    ☒     subordinated      ☐                                               1,000 Holders (6.25%
                                                                     $ 408,300,000                             Notes due 2023)
         secured    ☐     unsecured    ☐     subordinated      ☐     $
         secured    ☐     unsecured    ☐     subordinated      ☐     $
         secured    ☐     unsecured    ☐     subordinated      ☐     $


         Number of shares of preferred stock                                                                   None outstanding1
         Number of shares of common stock                                                                      91,773,7392


         Comments, if any:




        Brief description of debtor’s business:    We are an independent exploration and production company with an oil
    focused asset base. Our primary production and development activities are located in North Dakota and the Rocky
    Mountain region, with additional oil and gas properties located in Texas.


        List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
    securities of debtor:
    Black Rock, Inc.; Dimensional Fund Advisors LP; FMR LLC; Hotchkis and Wiley Capital Management, LLC; State Street
    Corporation - SSGA Funds Management, Inc.; The Vanguard Group




1      As of March 6, 2020.

2      As of March 27, 2020.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                         )
    In re:                                               )       Chapter 11
                                                         )
    WHITING PETROLEUM CORPORATION,                       )       Case No. 20-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor                Equity Holders              Address of Equity Holder       Percentage of
                                                                                               Equity Held
                               State Street
                                                             State Street Financial Center
    Whiting Petroleum          Corporation - SSGA
                                                             Once Lincoln Street                   16.3%
    Corporation                Funds Management,
                                                             Boston, MA 02111
                               Inc.
    Whiting Petroleum                                        55 East 52nd Street
                               Black Rock, Inc.                                                    15.5%
    Corporation                                              New York, NY 10055
    Whiting Petroleum                                        100 Vanguard Boulevard
                               The Vanguard Group                                                 10.72%
    Corporation                                              Malvern, PA 19355
    Whiting Petroleum                                        245 Summer Street
                               FMR LLC                                                            8.731%
    Corporation                                              Boston, MA 02210
                                                             Building One
    Whiting Petroleum          Dimensional Fund
                                                             6300 Bee Cave Road                    7.52%
    Corporation                Advisor LP
                                                             Austin, TX 78746
                               Hotchkis and Wiley            600 S. Figueroa Street
    Whiting Petroleum
                               Capital Management,           39th Floor                            5.46%
    Corporation
                               LLC                           Los Angeles, CA




1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as
       disclosed in Schedule 13G filed prior to February 15, 2020 with the Securities and Exchange
       Commission.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 WHITING PETROLEUM CORPORATION,                       )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

 State Street Corporation - SSGA Funds
                                                                                16.3%
 Management, Inc.
 Black Rock, Inc.                                                                15.5%
 The Vanguard Group                                                             10.72%
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                         WHITING PETROLEUM CORPORATION

                                  OFFICER’S CERTIFICATE

                                          April 1, 2020

The undersigned, solely in his capacity as an officer of Whiting Petroleum Corporation, a
Delaware corporation (the “Company”), and not in his individual or any other capacity, and
without personal liability, hereby certifies in the name and on behalf of the Company that attached
hereto as Annex A is a true, correct and complete copy of the resolutions adopted by the board of
directors of the Company, authorizing the Company to file voluntary petitions for relief
commencing cases under chapter 11 of title 11 of the United States Code, sections 101, et seq.



                                    [Signature Page Follows]
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        IN WITNESS WHEREOF, the undersigned has executed this consent as of the date
first written above.



                                          /s/ Bradley J. Holly
                                          Bradley J. Holly
                                          Chief Executive Officer
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                            Annex A

                           Resolutions

                           [Attached]
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                                     RESOLUTIONS
                                        OF THE
                                 BOARD OF DIRECTORS
                                          OF
                           WHITING PETROLEUM CORPORATION

                                             April 1, 2020

        WHEREAS, a telephonic meeting (the “Meeting”) of the Board of Directors (the “Board”)
of Whiting Petroleum Corporation (the “Company”) on behalf of the Company and the direct and
indirect subsidiaries identified on Schedule 1 attached hereto (together with the Company, the
“Filing Entities”) was concluded on April 1, 2020.

        WHEREAS, as set forth above, a requisite number of the members of the Board,
constituting a quorum, participated throughout the Meeting. After it was confirmed that the
Meeting was duly convened (and each member of the Board waived any notice requirements in
connection therewith), those participating could hear each other and a quorum of the Board was in
attendance, the Meeting was called to order.

         WHEREAS, the Board has considered presentations by the Company’s management (the
“Management”) and financial and legal advisors (collectively, the “Advisors”) regarding the
liabilities and liquidity of each Filing Entity, the strategic alternatives available to it, and the effect
of the foregoing on each Filing Entity’s business;

        WHEREAS, following discussion, upon a motion duly made and seconded, the members
of the Board at the Meeting (acting on behalf of the Company, in its own capacity) unanimously
adopted and approved the following recitals and/or resolutions (the “Resolutions”) pursuant to the
organizational documents of the Company and the laws of the state of Delaware; and

       WHEREAS, the Board has consulted with Management and the Advisors and has fully
considered each of the strategic alternatives available to each Filing Entity.

        NOW, THEREFORE, BE IT:

                                          Chapter 11 Filing

        RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
the Filing Entities, their creditors, and other parties in interest, that each Filing Entity shall be, and
hereby is, authorized to file or cause to be filed a voluntary petition for relief commencing a case
(the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United States Code,
11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Southern District of Texas (the “Bankruptcy Court”) or other court of competent jurisdiction; and
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        RESOLVED, that the President and Chief Executive Officer, Chief Financial Officer,
Chief Restructuring Officer, Chief Operating Officer, Chief Administrative Officer General
Counsel and Secretary, any Vice President, or any other duly appointed officer of any Filing Entity
(collectively, the “Authorized Officers”), acting alone or with one or more other Authorized
Officers be, and each of them hereby is, authorized, empowered, and directed to execute and file
on behalf of the Filing Entities all petitions, schedules, lists, and other motions, papers, or
documents (including the filing of financing statements), and to take any and all action that they
deem necessary, appropriate, or desirable to obtain such relief, including, without limitation, any
action necessary, appropriate, or desirable to maintain the ordinary course operation of the Filing
Entities’ businesses.

                           Cash Collateral and Adequate Protection

        RESOLVED, that the Filing Entities will obtain benefits from (a) the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security pursuant to that certain Seventh Amended and Restated
Credit Agreement, by and among Whiting Oil and Gas Corporation, as borrower, the Company,
as parent guarantor, the lenders party thereto from time to time (the “RBL Lenders”), and
JPMorgan Chase Bank, N.A., as the administrative agent (as amended, supplemented, or modified
from time to time in accordance with the terms therein, the “Credit Agreement”), which provides
for the Company’s reserve-based lending facility (the “RBL Facility”).

       RESOLVED, that in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, the Filing Entities will provide certain
adequate protection to the RBL Lenders (the “Adequate Protection Obligations”), as documented
in a proposed order in interim and final form (the “Cash Collateral Order”) and submitted for
approval to the Bankruptcy Court.

        RESOLVED, that the form, terms, and provisions of the Cash Collateral Order to which
the Filing Entities are or will be subject, and the actions and transactions contemplated thereby be,
and hereby are authorized, adopted, and approved, and each of the Authorized Officers of any
Filing Entity be, and hereby is, authorized and empowered, in the name of and on behalf of the
Filing Entities, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of, the Cash Collateral Order, and such other
agreements, certificates, instruments, receipts, petitions, motions, or other papers or documents to
which the Filing Entities will be parties, including, but not limited to, any security and pledge
agreement or guaranty agreement (collectively with the Cash Collateral Order,
the “Cash Collateral Documents”), incur and pay or cause to be paid all fees and expenses and
engage such persons, in each case, in the form or substantially in the form thereof submitted to the
Board, with such changes, additions, and modifications thereto as the officers of any Filing Entity
executing the same shall approve, such approval to be conclusively evidenced by such officers’
execution and delivery thereof.

       RESOLVED, that the Filing Entities, as debtors and debtors in possession under the
Bankruptcy Code be, and hereby are, authorized to incur the Adequate Protection Obligations and
to undertake any and all related transactions on substantially the same terms as contemplated under


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the Cash Collateral Documents (collectively, the “Cash Collateral Transactions”), including
granting liens on its assets to secure such obligations.

                                    Restructuring Term Sheet

        WHEREAS, in connection with the Chapter 11 Cases, the Filing Entities have engaged in
good-faith negotiations with certain holders of the Company’s convertible notes and senior
unsecured notes (the “Ad Hoc Group”) regarding the terms of a comprehensive restructuring as
set forth in that certain Restructuring Term Sheet, dated as of April 1, 2020 (as may be amended
in accordance with its terms, the “Restructuring Term Sheet”).

NOW, THEREFORE, BE IT,

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized to take all
actions (including, without limitation, to negotiate and execute any agreements, documents, or
certificates) necessary to enter into a restructuring support agreement consistent with the
Restructuring Term Sheet and to consummate the transactions contemplated thereby in connection
with the Chapter 11 Cases and that each Filing Entity’s performance of its obligations under the
Restructuring Term Sheet hereby is, in all respects, authorized and approved.

                                    Retention of Professionals

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(together, “Kirkland”), as counsel, to represent and assist the Filing Entities in carrying out their
duties under the Bankruptcy Code and to take any and all actions to advance the Filing Entities’
rights and remedies, including filing any motions, objections, replies, applications, or pleadings
and conducting any potential sale process on behalf of the Filing Entities; and, in connection
therewith, each of the Authorized Officers, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, to pay appropriate retainers, and to cause to
be filed an appropriate application for authority to retain Kirkland in accordance with applicable
law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed to employ the law firm of Jackson Walker LLP (“Jackson Walker”), as co-bankruptcy
counsel, to represent and assist the Filing Entities in carrying out their duties under the Bankruptcy
Code and to take any and all actions to advance the Filing Entities’ rights and remedies, including
filing any motions, objections, replies, applications, or pleadings and conducting any potential sale
process on behalf of the Filing Entities; and, in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, to pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Jackson Walker in accordance with applicable law;




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        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed to employ the firm of Moelis & Company (“Moelis”), as financial advisor and investment
banker, to represent and assist the Filing Entities in carrying out their duties under the Bankruptcy
Code, and to take any and all actions to advance the Filing Entities’ rights and remedies; and, in
connection therewith, each of the Authorized Officers is, with power of delegation, hereby
authorized and directed to execute appropriate retention agreements, to pay appropriate retainers,
and to cause to be filed an appropriate application for authority to retain Moelis in accordance with
applicable law;

         RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed to employ the firm of Alvarez & Marsal (A&M), as restructuring advisor, to represent and
assist the Filing Entities in carrying out their duties under the Bankruptcy Code, and to take any
and all actions to advance the Filing Entities’ rights and remedies; and, in connection therewith,
each of the Authorized Officers is, with power of delegation, hereby authorized and directed to
execute appropriate retention agreements, to pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain A&M in accordance with applicable law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed to employ Bankruptcy Management Solutions, Inc. d/b/a/ Stretto (“Stretto”), as notice,
claims, and solicitation agent, and as administrative advisor, to represent and assist the Filing
Entities in carrying out their duties under the Bankruptcy Code, and to take any and all actions to
advance the Filing Entities’ rights and remedies; and, in connection therewith, each of the
Authorized Officers, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, to pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain Stretto in accordance with applicable law;

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed to employ any other professionals to assist the Filing Entities in carrying out their duties
under the Bankruptcy Code; and, in connection therewith, each of the Authorized Officers, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, to pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of any other professionals as necessary, appropriate, or desirable,
including (without limitation) special counsel to the extent determined necessary, appropriate, or
desirable; and

       RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain legal counsel, accountants, financial advisors, restructuring advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the Authorized
Officers deem necessary, appropriate, or desirable in connection with the Chapter 11 Cases.




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                                       General Resolutions

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
hereby is, authorized and empowered, in the name of and on behalf of each Filing Entity, to take
or cause to be taken any and all such other and further action, and to execute, acknowledge, deliver,
and file any and all such agreements, certificates, instruments, and other documents and to pay all
expenses, including but not limited to filing fees, in each case as in such Authorized Officer’s or
Authorized Officers’ judgment, shall be necessary, appropriate, or desirable in order to fully carry
out the intent and accomplish the purposes of the Resolutions adopted herein;

        RESOLVED, that the Board has received sufficient notice of the actions and transactions
relating to the matters contemplated by the foregoing Resolutions, as may be required by the
organizational documents of any Filing Entity, or hereby waives any right to have received such
notice;

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing Resolutions done in the name of and on behalf of the Filing Entities, which acts
would have been approved by the foregoing Resolutions except that such acts were taken before
the adoption of these Resolutions, are hereby in all respects approved, confirmed and ratified as
the true acts and deeds of the Filing Entities with the same force and effect as if each such act,
transaction, agreement, or certificate had been specifically authorized in advance by resolution of
the Board;

       RESOLVED, that each of the Authorized Officers (and their designees and delegates) be
and hereby is, authorized and empowered to take all actions or to not take any action in the name
of and on behalf of the Filing Entities with respect to the transactions contemplated by these
Resolutions hereunder as such Authorized Officer shall deem necessary, appropriate, or desirable
in such Authorized Officer’s reasonable business judgment as may be necessary, appropriate, or
desirable to effectuate the purposes of the transactions contemplated herein; and



                                  *       *      *       *       *




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                               Schedule 1

         Filing Subsidiaries of Whiting Petroleum Corporation

               Subsidiary                         Jurisdiction of Formation

   Whiting Canadian Holding Company                British Columbia, Canada
    Unlimited Liability Corporation

      Whiting US Holding Company                        Delaware (U.S.)

     Whiting Oil and Gas Corporation                    Delaware (U.S.)

      Whiting Resources Corporation                     Colorado (U.S.)
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    Fill in this information to identify the case and this filing:

   Debtor Name          Whiting Petroleum Corporation

   United States Bankruptcy Court for the:                Southern District of Texas

                                                                                             (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Correne S. Loeffler
                                       04/01/2020
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Correne S. Loeffler
                                                                                 Printed name
                                                                                 Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
